 Case: 3:09-cr-00020-RAM-RM    Document #: 466   Filed: 12/01/10   Page 1 of 20



                 DISTRICT COURT OF THE VIRGIN ISLANDS
                  DIVISION OF ST. THOMAS AND ST. JOHN

                                    )
UNITED STATES OF AMERICA, and THE )
PEOPLE OF THE VIRGIN ISLANDS,       )
                                    )
               Plaintiffs,          )            Criminal No. 2009-20
                                    )
               v.                   )
                                    )
GELEAN MARK, a/k/a “KERWIN”, and    )
JEROME BLYDEN,                      )
                                    )
               Defendants.          )
___________________________________ )


ATTORNEYS:

Kim R. Lindquist, AUSA
Nolan D. Paige, AUSA
St. Thomas, U.S.V.I.
     For the plaintiffs.

Mark D. Hodge, Esq.
St. Thomas, U.S.V.I.
     For the defendant Gelean Mark.

Treston E. Moore, Esq.
St. Thomas, U.S.V.I.
     For the defendant Jerome Blyden.

                            MEMORANDUM OPINION

      This Opinion memorializes the Court’s October 7, 2010 ruling

on the motion by, Gelean Mark (“Mark”) and Jerome Blyden

(“Blyden”) for a new trial in this matter based on the

government’s failure to disclose materials1.




     1
       The defendants moved for a new trial on several other grounds.   The
Court previously addressed those issues in a separate Opinion.
 Case: 3:09-cr-00020-RAM-RM    Document #: 466     Filed: 12/01/10   Page 2 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 2

                 I. FACTUAL AND PROCEDURAL BACKGROUND

      On May 19, 2009, a grand jury handed down an indictment in

the instant case against Mark and Blyden.            On October 1, 2009, a

grand jury handed down a superseding indictment.               Count One

charged Mark and Blyden, with participating in or operating a

racketeering enterprise involving narcotic sales, illegal

gambling, and violent acts including attempted murder, in

violation of 18 U.S.C. § 1961 et seq.            Count Two charged Mark and

Blyden with the attempted murder of Trevor Nicholas Friday Jr.

(“Friday”) in aid of racketeering, in violation of 18 U.S.C. §

1959.    Count Three charged Mark and Blyden with the assault with

a dangerous weapon of Friday in aid of racketeering activity, in

violation of 18 U.S.C. § 1959.        Count Four charged Blyden with

the assault with a dangerous weapon of Damien Daniels in aid of

racketeering, in violation of 18 U.S.C. § 1959.              Count Five

charged Mark and Blyden with using a firearm in furtherance of a

drug trafficking crime, in violation of 18 U.S.C. § 924.                 Counts

Six and Seven charged Blyden with money laundering, in violation

of 18 U.S.C. § 1956,      and bank fraud, in violation of 18 U.S.C. §

1344.2




     2
        On the morning of trial, the government moved for dismissal of Counts
Six and Seven. The Court granted that motion.
 Case: 3:09-cr-00020-RAM-RM    Document #: 466    Filed: 12/01/10   Page 3 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 3

      A trial in this matter was held from May 3, 2010 to May 8,

2010.   The government presented testimony from witnesses who were

engaged in drug trafficking with Mark, taped phone conversations

between Mark and another member of the drug conspiracy, Vernon

Fagan, about drug trafficking and dogfighting activity, and

conversations between other drug dealers which discussed Mark’s

distribution network in the Virgin Islands.            Among the

government’s witnesses were, James Springette (“Springette”) and

Elton Turnbull (“Turnbull”), who testified that they were engaged

in drug trafficking activities with Mark.

      On May 7, 2010, the jury sent the judge a note that they had

reached a unanimous verdict. The foreperson then read the jury’s

verdict in Court. Following a request by Blyden for a poll of the

jury, one juror when asked if the verdict was his unanimous

verdict, responded “Yes and no.” (Trial Tr., 251, May 7, 2010.)

Finding that the juror’s response indicated a lack of unanimity,

the Court then instructed the jury to return to deliberation.

      Following further deliberation, the jury returned a verdict

on May 8, 2010.     They found Mark guilty on Counts One and Three

and not guilty on Counts Two and Five.           They found Blyden guilty

on Count Three and not guilty on Counts One, Two, and Five.

      On May 24, 2010, Turnbull testified in another criminal case

in this Court, United States v. Fagan et al., Criminal Number
 Case: 3:09-cr-00020-RAM-RM    Document #: 466   Filed: 12/01/10   Page 4 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 4

2006-80.    After the conclusion of the direct examination of

Turnbull, the defense requested Jencks material.             The government

asserts that “[believing that any Jencks obligations had been

complied with, but otherwise out of caution and following trial

on May 25, 2010, the United States searched files associated with

witness Turnbull but found none.” (Gov’ts’ Resp. to Def. Mark’s

Mot. For New Trial 13.)

      On May 25, 2010, the government contacted the Criminal Chief

of the United States Attorney’s Office for the Middle District of

North Carolina.     The government was then informed that the Office

for the Middle District of North Carolina “had inadvertently

overlooked a file containing letter written by Turnbull to that

office.” (Id. at 14.)

      On that same day, the government also communicated with a

federal agent associated with the Turnbull investigation in North

Carolina, James Bryan (“Bryan”), about correspondence between him

and Turnbull. Bryan informed the government that he had received

5 letters from Turnbull and 9 letters from Springette.

      The United States Attorney’s Office of the Virgin Islands

undertook a more thorough review of their files and found four

additional letters from Turnbull.

        All of these documents were turned over to the defense in

the Fagan trial.     However, given that their discovery occurred
 Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 5 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 5

after the conclusion of the trial in the above-captioned matter,

they were not disclosed during the instant criminal trial.

      The defendants moved for a new trial based on the

government’s failure to disclose letters sent by Springette and

Turnbull, to the United States Attorney’s Offices of the Middle

District of North Carolina and District of the Virgin Islands,

Bryan, and this Court.



                               II. DISCUSSION

      When deciding a Rule 33 motion for a new trial, the Court is

provided somewhat more discretion than what is afforded under

Rule 29.    Under Rule 33, the Court may grant a new trial “in the

interest of justice.” United States v. Charles, 949 F. Supp. 365,

368, 35 V.I. 306 (D.V.I. 1996).         In assessing such “interest”,

the court may weigh the evidence and credibility of witnesses.

United States v. Bevans, 728 F. Supp. 340, 343 (E.D. Pa. 1990),

aff'd, 914 F.2d 244 (3d Cir. 1990).         If the Court determines that

there has been a miscarriage of justice, the court may order a

new trial. Id.     “The burden is on the defendant to show that a

new trial ought to be granted. Any error of sufficient magnitude

to require reversal on appeal is an adequate ground for granting

a new trial.” United States v. Clovis, Crim. No. 94-11, 1996 U.S.

Dist. LEXIS 20808, at *5 (D.V.I. Feb. 12, 1996).
 Case: 3:09-cr-00020-RAM-RM    Document #: 466   Filed: 12/01/10   Page 6 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 6

A. The Jencks Act

      The government is subject to disclosure requirements under

the Jencks Act, 18 U.S.C. § 3500.        That act “requires that the

government disclose prior recorded statements of its witnesses

that are ‘related’ to the subject mater of their testimony.”

United States v. Hill, 976 F.2d 132, 139 (3d Cir. 1992).               It

provides that:

      After a witness called by the United States has
      testified on direct examination, the court shall, on
      motion of the defendant, order the United States to
      produce any statement (as hereinafter defined) of the
      witness in the possession of the United States which
      related to the subject matter as to which the witness
      has testified.

18 U.S.C. § 3500(b). “A written statement made by said witness

and signed or otherwise adopted or approved by him . . . .”

constitutes a “statement” under the Act. Id. at § 3500(e)(1).

      The Supreme Court has consistently held that the harmless

error rule governs violations of the Jencks Act.             Rosenberg v.

United States, 360 U.S. 367 (1959); Goldberg v. United States,

425 U.S. 94 (1976); Campbell v. United States, 373 U.S. 487

(1963). “The test for harmless error is whether it is highly

probable that the error did not contribute to the conviction.”

United States v. Zomber, 299 Fed. Appx. 130, 134 (3d Cir.

2008)(unreported).      In applying this test to an asserted Jencks

violation, “we must analyze the prejudice resulting from the non-
 Case: 3:09-cr-00020-RAM-RM    Document #: 466   Filed: 12/01/10    Page 7 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 7

disclosure of the [material] in terms of its potential usefulness

to the defense.” United States v. Hill, 976 F.2d 132, 141 (3d

Cir. 1992).

       In Rosenberg v. United States, 360 U.S. 367 (1959), the

Court noted that a failure to produce may be held harmless if the

defense otherwise had access to the same information:

      An appellate court should not confidently guess what
      defendant's attorney might have found useful for
      impeachment purposes in withheld documents to which the
      defense is entitled. However, when the very same
      information was possessed by defendant's counsel as
      would have been available were error not committed, it
      would offend common sense and the fair administration
      of justice to order a new trial.

Rosenberg, 360 U.S. at 371.

B. Brady/Giglio

      In Brady v. Maryland, 373 U.S. 83, 87 (1963), the Supreme

Court held that the “the suppression by the prosecution of

evidence favorable to an accused upon request violates due

process where the evidence is material either to guilt or

punishment, irrespective of good faith or bad faith of

prosecution.”     In order to demonstrate a Brady violation, a

defendant must show that “(1) evidence was suppressed; (2) the

suppressed evidence was favorable to the defense; and (3) the

suppressed evidence was material either to guilt or punishment.”

United States v. Pelullo, 399 F.3d 197, 209 (3d Cir.

2005)(internal quotations and citations omitted).             The
 Case: 3:09-cr-00020-RAM-RM    Document #: 466   Filed: 12/01/10   Page 8 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 8

suppression of the evidence by the government may be violative of

Brady even if done inadvertently. See Strickler v. Greene, 527

U.S. 263, 281-82 (1999)(noting that one of the elements of “a

true Brady violation” is the suppression of evidence “either

willfully or inadvertently”).       As to the materiality prong, the

Court of Appeals for the Third Circuit has held that “[t]he

materiality standard for Brady claims is met when the favorable

evidence could reasonably be taken to put the whole case in such

a different light as to undermine the confidence in the verdict.”

United States v. Mitchell, 365 F.3d 215, 254 (3d Cir.

2004)(quotation marks omitted).

      The holding in Brady was extended to include impeachment

evidence in Giglio v. United States, 405 U.S. 150, 154 (1972). To

prove a Giglio violation, a defendant must show the same three

prongs required under the test for a Brady violation. See United

States v. Risha, 445 F.3d 298, 303 (3d Cir. 2006)(applying the

three-part Brady test where impeachment evidence was withheld).


                               III. ANALYSIS

      None of the letters on which the defendants base their

Jencks and Brady/Giglio claims directly reference either Mark or

Blyden.   Most of the letters relate to Springette and Turnbull’s

cooperation with the government and their desire to be given some
 Case: 3:09-cr-00020-RAM-RM    Document #: 466   Filed: 12/01/10   Page 9 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 9

favorable treatment for their efforts3.          For example, in one of

the letters sent to Bryan, Springette requests aid from the

government in light of the value of his testimony in criminal

trials:

      Mr. Bryan, I’am [sic] not asking anyone for an
      expedited ruling on my Rule 35. I am simply asking for
      some sort of intervention and assistance in getting me
      a recommendation to go to an F.C.I. I have been
      straight-forward, honest, and attentive as a government
      witness, and according to the pollin gof the jury in
      the last trial they said they would have voted to
      acquit had it not been for my testimony.

(Letter from James Springette to James Bryan, September 21,
2008.)


     Turnbull’s letters also appealed for some measure of

assistance from the government in return for his cooperation.                In

one such letter to Assistant United States Attorney Robert

Hairston of the Middle District of North Carolina, Turnbull

stated:

          Ever since my testimony I have been available for
          testimony at five different trials . . . in three
          different Federal districts (the Middle District of
          N.C., Augusta, GA, and St. Thomas U.S.V.I.)

                              . . . .
          As things stand I have three questions, which
          hopefully you can answer: 1) Whether you truly
          intend on filing a motion of rule 35B on my behalf
          (as was told to me by agent J. Bryant); 2) if so
          when: and lastly I would like to inquire as to the

     3
       In a few of the correspondences Springette forwards letters to the
government from individuals who he believes are contacting him in order to
draw on his drug trafficking contacts.
 Case: 3:09-cr-00020-RAM-RM      Document #: 466   Filed: 12/01/10   Page 10 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 10

            status of my inclusion into the Witne4 Protection
            and Relocation Program?

    (Undated Letter from Elton Turnbull to Assistant United
    States Attorney Hairston.)

A. Jencks Act

         The defendants assert a Jencks violation because following

the direct examinations of both Springette and Turnbull they

moved for any Jencks material for those witnesses and “several

dozen letters from both Springette and Turnbull to the Assistant

United States Attorney and even to the Court itself5” were not

turned over. (Def.’s Mot. for New Trial 19.)

          In United States v. Zomber, 299 Fed Appx. 130 (3d Cir.

2008), a defendant challenged his conviction because of the

government’s failure to produce information due to him under the

Jencks Act and Brady.         Zomber and his codefendant were charged

with conspiracy to commit mail and wire fraud, “stemm[ing] from

three false and misleading letters written by, or at the

direction of Zomber and [his codefendant].” 299 Fed. Appx. 132.



     4
         This word was truncated in the copy of the letter provided to the
Court.
     5
       In his motion for a new trial, Mark additionally asserts that “the
Court improperly engaged in ex parte communication with the Government
regarding one of those pieces of exculpatory correspondence without alerting
defendants to the existence of the underlying exculpatory correspondence or to
the Court’s correspondence to the Government regarding the same.” (Def.’s Mot.
for New Trial 17-18.) The Court, consistent with its standard practice
regarding fee requests from witnesses, forwarded the letter to the Office of
the United States Attorney for the District of the Virgin Islands for whatever
action it deemed appropriate.
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 11 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 11

The letters were aimed at inducing Joseph Murphy (“Murphy”), a

collector of antique firearms, to buy four Colt firearms owned by

Zomber and his codefendant.

      Murphy was the government’s key witness at trial.              He

testified that he would not have paid the price for the firearms

had he been aware of their true value.           At the close of the case,

the jury found Zomber guilty of conspiracy to commit mail and

wire fraud.

      Thereafter, Zomber became aware of letters, in the

government’s possession, that Murphy had sent to Bill Gates

(“Gates”) in which he proposed that he would sell Gates his

firearm collection “‘at cost with no traditional mark-up and no

dealer commission.’” Id. at 132.        Zomber moved for vacatur of his

conviction based on the government’s failure to disclose those

letters.    The district court denied his motion, holding that the

letters did not constitute Jencks material because: (1) “ they

‘were not sent to or provided to an investigating officer’” and

(2) they were “‘unrelated to a criminal investigation or

prosecution.” Id. at 134 (quoting Zomber v. United States, 2007

WL 85308, * at 18 (E.D. Pa. Mar. 19, 2007)).            Zomber appealed

that determination.

      As to the finding that the letters were unrelated, the Third

Circuit disagreed.      The Court noted that Murphy’s letters
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 12 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 12

“solicit negotiations for the very firearms at issue in this case

. . . and they reveal Murphy’s assessment of the value of those

firearms.” Id. at 134-35.

      Having found that the letters were subject to Jencks

disclosure, the Court then turned to whether the defense suffered

prejudice because of the absence of the letters at trial.                The

Court found prejudice and held that the error was not harmless

because evidence about Murphy selling the firearms “at cost,” was

relevant to the issue of whether Murphy paid an inflated price

when he purchased the firearms.

      In United States v. Nicolapolous, 30 F.3d 381 (2d Cir. 1994)

the Court of Appeals for the Second Circuit addressed a Jencks

violation claim in a RICO case. There, three defendants were

convicted of RICO and RICO conspiracy charges involving gambling

and loansharking activities, stemming from their participation in

a criminal enterprise in Astoria, Queens.

      At the trial in the matter, Spyredon Fioravantes

(“Fioravantes”), a witness who ran a loansharking business in New

York City “in cooperation with and in competition” with the

defendants’ enterprise, gave testimony.          Fioravantes testified

about his experience interacting with defendants’ enterprise.                  On

direct examination, he acknowledged that he had been involved in

criminal activities including drug dealing, loansharking, and
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 13 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 13

illegal gambling.     He also admitted that he was a state prisoner

serving a sentence for dealing heroin and that he had perjured

himself in the trial of the heroin matter.

      During cross-examination, Fioravantes’ testified that as

part of his loansharking business, he used a notebook to record,

in Greek, the names, telephone numbers, and amounts due from

individuals whom he had given illegal loans.            Upon eliciting the

testimony describing the notebook, the defense counsel moved for

production of the notebook pursuant to the Jencks Act.               The

government countered that the notebook’s disclosure was

unnecessary in that it would constitute cumulative evidence about

Fioravantes’ loansharking, and also noted that the names of the

loan recipients constituted sensitive information.

      In balancing the interest in keeping certain names

confidential, with the defendants’ right to confront Fioravantes,

the trial judge ultimately had Fioravantes review the notebook

and specify which persons he had referred to in his testimony.

The defendants later appealed the judge’s conditional disclosure

of the information in the notebook.

      The Court of Appeals for the Second Circuit did not find

that the limited disclosure of the notebook’s contents resulted

in any prejudice to the defendants.         The Court emphasized that

the impeachment value of this additional evidence of Fioravantes’
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 14 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 14

loansharking was minimal at best: “[T]here appears to be no non-

cumulative use that appellants could have made of the notebook in

attacking Fioravantes’ credibility . . . . Appellants have failed

to suggest how the material might conceivably have aided them

beyond providing virtually irrelevant details of loansharking

that Fioravantes freely admitted to at trial ”6 Nicolapolous, 30

F.3d at 383.

      The Court also found significant the fact that there was

other evidence presented suggestive of the defendants’ guilt:

         Finally, Fioravantes’s testimony was not the only
         evidence showing the appellants’ commission of the
         crimes of which they were convicted. See Petrillo, 821
         F.2d at 90 (distinguishing cases finding that withheld
         impeachment evidence prejudiced defense on grounds that
         in those cases “witness whose credibility was at issue
         supplied the only evidence linking the defendant(s) to
         the crime”). In fact, the jury heard tape recordings
         of [the defendants], and others discussing their
         gambling and loansharking activities.

  Id. at 384-85.

      Here, a Jencks Act violation occurred with respect to the

government’s failure to disclose the Springette and Turnbull

letters in response to the defense’s motion.            The letters

constituted recorded “statements” of Springette and Turnbull.


     6
       The Second Circuit noted that Federal Rule of Evidence 608(b) would
have called for the exclusion of prior evidence of bad acts under the
circumstances presented. Though the evidence at issue here, regarding the
motives of the cooperating witnesses, does not implicate that Rule, the issues
that the Nicolapolous Court dealt with in evaluating cumulative evidence may
have a broader application.
Case: 3:09-cr-00020-RAM-RM      Document #: 466   Filed: 12/01/10   Page 15 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 15

Though they did not involve information related to the criminal

matter itself, their discussion of the motives of Springette and

Turnbull’s motives for testifying in criminal cases made them

“related” to their testimony for Jencks purposes.               See United

States v. Borelli, 336 F.2d 376, 393 (2d Cir. 1964)(“We can see

no reason why a statement that would support impeachment for bias

and interest does not ‘relate’ to the witness' testimony as much

as a statement permitting impeachment for faulty memory[.]”)

      Having determined that there was a Jencks violation, the

Court was then required to evaluate if that violation resulted in

prejudice to the defendants. See Zomber, 299 Fed. Appx. at 135

(turning to an analysis of the prejudice that resulted from the

government’s non-disclosure following a determination that the

disclosure constituted a Jencks Act violation).               This standard

analyzes the prejudice by examining the undisclosed evidence “in

terms of its potential usefulness” to the defendants, and

represents “a more exacting” standard than the standard used to

adjudge a Brady error.         United States v. Hill, 976 F.2d 132, 141

(3d Cir. 1992).

      The information offered in the letters here would not have

gone to challenging discrepancies in Springette and Turnbull’s

testimony about drug trafficking activities.             Rather, such

information would have served to expose the motives behind
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 16 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 16

Springette and Turnbull’s testimony.         The presumptive utility of

the letters were as ammunition to challenge Springette and

Turnbull’s credibility.        The government inquired about

Springette’s plea agreement:

      Q: Were you convicted pursuant to a plea agreement?
      A: Yes, I was.
      Q: Are you here today pursuant to a plea agreement?
      A: I am here on the request of the Court, yes, sir.
      Q: In conjunction with that plea agreement, did you
      enter into a cooperation agreement as well?
      A: Yes, sir.
      Q: And what were the terms of that cooperation
      agreement as it relates yourself?
      A: To truthfully testify or assist the government when
      I’m called upon to, sir.

(Trial Tr. at 345-346, May 4, 2010.)         The government asked

similar questions of Turnbull, and received similar responses

(Trail Tr. at 40, May 5, 2010.)        Neither of the defendants’

counsel cross-examined Springette or Turnbull about their plea

agreements or any sentence reduction they hoped to receive in

connection with their testimony at trial.

      The Court is mindful of the Supreme Court’s admonition that

courts “should not confidently guess what defendant's attorney

might have found useful for impeachment purposes in withheld

documents to which the defense is entitled.” Rosenberg, 360 U.S.

at 371.   Though defense counsel did not elect to question

Springette and Turnbull about their plea agreements, defense

counsel may have used the letters to impeach those witnesses by
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 17 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 17

probing into their motives for testifying.

      Even assuming arguendo, the letters would have wholly

undermined Springette and Turnbull’s credibility, the Court notes

that as in Nicolapolous there was ample evidence, other than the

testimony of those two witnesses, of the Mark-Blyden enterprise’s

drug trafficking activities.        The government presented telephone

calls between Mark and co-conspirators suggesting the

coordination of the importation and distribution of drugs.

Additionally, there was testimony from Glenson Isaac about

Blyden’s role as the enforcer in the enterprise’s narcotics sales

and gambling activities.

      In sum the Court found that “it is highly probable” that the

failure to disclose the letters “did not contribute to

conviction.” Zomber, 299 Fed. Appx. at 135.

B. Brady/Giglio Claim

      “It is axiomatic that defense counsel should be permitted to

expose to the jury facts relative to a witness’ possible

motivation to testify favorably for the prosecution or his

potential bias for or against any party to the criminal

proceeding.” Wilkerson v. Cain, 233 F.3d 886, 890 (5th Cir.

2000). “Suppressed evidence that could have been used to impeach

a government witness can affect the outcome if it is not

cumulative of other impeachment offered at trial.” United States
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 18 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 18

v. Wilson, 481 F.3d 475, 480 (7th Cir. 2007).

      In United States v. Schell, 775 F.2d 559 (4th Cir. 1985),

the defendants in a RICO conspiracy case raised Brady and Giglio

claims, related to the government’s failure to produce letters

from a cooperating codefendant, Anthony Alvino (“Alvino”) to an

Assistant United States Attorney.         The letters discussed Alvino’s

plea agreement with the government.         The defendants contended

that the letters between the witness and the Assistant United

States Attorney would have demonstrated that the cooperating

codefendant was assured leniency in exchange for his testimony.

      The Fourth Circuit found the government’s failure to

disclose the letters to constitute “at most, harmless error.”

United States v. Schell, 775 F.2d 559, 567 (4th Cir. 1985).                It

noted that Alvino’s reasons for cooperating were borne out in

Alvino’s testimony at trial:

      Upon direct examination of Alvino, the government elicited
      the fact that Alvino was testifying pursuant to a plea
      agreement and one of the appellants' attorneys cross-
      examined Alvino as to his motivation for testifying.
      Additionally, Alvino's testimony was corroborated by the
      testimony of three other witnesses. Moreover, neither the
      Alvino-Jividen letters nor the original signature page of
      the Lindsey plea bargain agreement would have exculpated the
      appellants. Thus, they would not have affected the outcome
      of the trial and we conclude their non-disclosure
      constituted, at most, harmless error.

Id.

       Here, as in Schell, there is nothing in the letters that
Case: 3:09-cr-00020-RAM-RM     Document #: 466    Filed: 12/01/10   Page 19 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 19

 was exculpatory.      The Court did not find that, in light of the

 significant body of evidence, including other witness testimony

 and recorded conversations about the enterprise’s drug

 trafficking operations, there was a “reasonable probability”

 that the jury would have decided differently had defense counsel

 been able to use the letters in their cross-examination.

       As to the impeachment value of the requests contained in

 Springette and Turnbull’s letters for sentence reductions and

 favorable treatment, similar evidence was elicited by the

 government in asking if the defendants were present in Court

 pursuant to a cooperation agreement.            The contents of the

 letters at issue here were more along the lines of aspirational

 requests than concrete agreements.         This is not an instance

 where the government failed to contravert a cooperating witness’

 denial of the existence of a plea agreement. Cf. United States

 v. Williams, 343 F.3d 423, 439 (5th Cir. 2003), cert denied, 540

 U.S. 1093 (2003) (“A Giglio violation usually occurs when a

 cooperating witness denies having a plea agreement and the

 prosecutor fails to correct the misstatement.”).               Without

 demonstrating the requisite materiality of the information in

 the Springette and Turnbull letters, the defendants failed to

 establish a Brady or Giglio violation.
Case: 3:09-cr-00020-RAM-RM     Document #: 466   Filed: 12/01/10   Page 20 of 20



United States v. Mark et al.
Criminal No. 2009-20
Memorandum Opinion
Page 20




                                  IV. CONCLUSION

      For the foregoing reasons, the defendants’ motions for a new

trial based on Jencks and Brady/Giglio violations were DENIED.




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                                                      CURTIS V. GÓMEZ
                                                        Chief Judge
